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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

vs.                                                                 Case No. 10-20766

NICHOLE HOLLINGSWORTH,                                            HON. AVERN COHN

     Defendant.
_________________________________/

      MEMORANDUM AND ORDER DENYING DEFENDANT’S MOTION TO VACATE
               SENTENCE UNDER 28 U.S.C. § 2255 (Doc. 180)

                                           I.

        This is a criminal case. In 2013, defendant was sentenced to 15 years

imprisonment (the mandatory minimum) following her plea of guilty to conspiracy to

produce child pornography, in violation of 18 U.S.C. § 2251.

        Before the Court is defendant’s motion to vacate under 28 U.S.C. § 2255.

Defendant says she is entitled to relief from her sentence based on the Supreme

Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015) and on the

grounds that she should have been given a mitigating role adjustment. See Docs. 180,

186. The government filed a response (Doc. 188), contending that the motion should

be denied as untimely and for lack of merit. The Court agrees. The reasons follow.

                                           II.

        Title 28 U.S.C. § 2255 provides:

        "A prisoner in custody under sentence of a court established by Act of Congress
        claiming the right to be released upon the ground that the sentence was imposed
        in violation of the Constitution or laws of the United States, ... or that the
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      sentence was in excess of the maximum authorized by law, or is otherwise
      subject to collateral attack, may move the court which imposed the sentence to
      vacate, set aside or correct the sentence."

      To prevail under § 2255, Petitioner must show a “fundamental defect which

inherently results in a complete miscarriage of justice." U.S. v. Timmreck, 441 U.S. 780,

783 (1979) (quoting Hill v. U.S., 368 U.S. 424, 428 (1962)).

                                            III.

                                            A.

      The government first says that the motion is untimely. Subsection 2255(f) states:

      (f) A 1-year period of limitation shall apply to a motion under this section. The
      limitation period shall run from the latest of
      (1) the date on which the judgment of conviction becomes final;
      (2) the date on which the impediment to making a motion created by
      governmental action in violation of the Constitution or laws of the United States is
      removed, if the movant was prevented from making a motion by such
      governmental action;
      (3) the date on which the right asserted was initially recognized by the Supreme
      Court, if that right has been newly recognized by the Supreme Court and made
      retroactively applicable to cases on collateral review; or
      (4) the date on which the facts supporting the claim or claims presented could
      have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f). Unless one of the three exceptions provided in section

2255(f)(2)-(4) applies, the statutory period begins to run on “the date on which the

judgment of conviction becomes final.” 28 U.S.C. § 2255(f)(1).

      Here, defendant was sentenced on August 1, 2013. She did not appeal her

conviction. Thus, her conviction became final when the time for filing a direct appeal

expired, or 60 days later. Sanchez-Castellano v. United States, 358 F.3d 424, 426 (6th

Cir. 2004). Defendant’s time period began to on October 1, 2013 and continued for one

year, until it expired on October 1, 2014. Defendant filed her motion to vacate on


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August 29, 2016, nearly two years after her statute of limitations expired. As such, the

motion is untimely.

                                             B.

       Defendant, however, says her motion is timely because of the Supreme Court’s

decision in Johnson. In Johnson, the Court held that the residual clause of the Armed

Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(ii), (ACCA) which defines the term

“violent felony” to include an offense that “involves conduct that presents a serious

potential risk of physical injury to another,” is unconstitutionally vague. In Welch v.

United States, 136 S. Ct. 1257 (2016), the Court held that Johnson announced a

substantive rule of constitutional law that applies retroactively to ACCA cases on

collateral review.

       Even if defendant filed a timely motion under Johnson, the motion must still be

denied for lack of merit. As to her claim for relief based on Johnson, defendant was not

sentenced under the ACCA. Nor was her sentence based on guidelines

provisions—such as the career offender enhancement or the firearms guidelines—that

employ a similarly-vague residual clause to enhance sentences. Defendant’s sentence

was not based on any prior “crime of violence” conviction. To the contrary, defendant’s

sentence represented the statutory mandatory minimum for conspiracy to produce child

pornography (regardless of prior convictions). See 18 U.S.C. § 2251. Thus, Johnson

simply does not apply to her sentence.

       Defendant’s claim seeking a mitigating role adjustment also fails. Defendant

received the lowest sentence allowed by law. A mitigating role assessment—even if it

could be applied—would not lower her sentence. As such, she is not entitled to relief on

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this ground.

                                             IV.

       For the reasons stated above, defendant’s motion under § 2255 is DENIED.

Furthermore, reasonable jurists would not debate whether the issues deserve

encouragement to proceed further. The Court therefore DENIES a certificate of

appealability under 28 U.S.C. § 2253(c)(2).1 See Slack v. McDaniel, 529 U.S. 473, 484

(2000).

       SO ORDERED.




                                                   S/Avern Cohn
                                                   AVERN COHN
                                                   UNITED STATES DISTRICT JUDGE
Dated: December 15, 2016
      Detroit, Michigan




       1
         The district court must issue or deny a certificate of appealability when it enters
a final order adverse to the applicant. See Rules Governing § 2254 Cases, Rule 11(a),
28 U.S.C. foll. § 2254.

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